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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Southern Division)


 UNITED STATES OF AMERICA, ex rel.
 Elgasim Mohamed Fadlalla, et al.,
        Plaintiffs,

                v.                                       Case No. 8:15-cv-01806-PX

 DYNCORP INTERNATIONAL LLC, et al.,
        Defendants.

                                 ENTRY OF APPEARANCE

       Pursuant to United States District Court for the District of Maryland Local Rule 101, the

undersigned hereby requests that this Court note the appearance of John E. McCann, Jr. of Miles

& Stockbridge P.C. as additional counsel for Defendant Global Linguist Solutions, LLC. The

undersigned states that he is a member in good standing of the Bar of this Court.

                                     Respectfully submitted,


                                            /s/ John E. McCann, Jr.
                                     John E. McCann, Jr. (Fed. Bar No. 10028)
                                     MILES & STOCKBRIDGE P.C.
                                     11 North Washington Street, Suite 700
                                     Rockville, Maryland 20850-4229
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                                     Counsel for Defendant Global Linguist Solutions, LLC
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of January, 2022, I electronically filed the

foregoing Entry of Appearance with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to all counsel of record.

                                                       /s/ John E. McCann, Jr.
                                                       John E. McCann, Jr.




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